           20-11685-jlg           Doc 1             Filed 07/22/20 Entered 07/22/20 19:33:10                           Main Document
                                                                  Pg 1 of 20

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Lakeland Intermediate, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          218 Water Street West                                       49 West 45th Street
                                          Number            Street                                    Number         Street

                                          Suite 400

                                          Charlottesville, VA 22902                                   New York, New York 10036
                                                                                                      City                         State      Zip Code

                                          City                            State      Zip Code
                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Albemarle County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://worldstrides.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
            20-11685-jlg          Doc 1         Filed 07/22/20 Entered 07/22/20 19:33:10                               Main Document
                                                              Pg 2 of 20
Debtor            Lakeland Intermediate, LLC                                          Case number (if known)
           Name



                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:
                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5615 (Travel Arrangement and Reservation Services)

8. Under which chapter of the                  Check One:
   Bankruptcy Code is the
   debtor filing?                              ☐ Chapter 7

                                               ☐ Chapter 9

                                               ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     debtor” must check the first sub-                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     box. A debtor as defined in §                                 affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
     1182(1) who elects to proceed                                 balance sheet, statement of operations, cash-flow statement, and federal income tax
     under subchapter V of chapter 11                              return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
     (whether or not the debtor is a                               1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                                   liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                                   and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                   selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if any of these documents do not exist,
                                                                   follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 ☒ A plan is being filed with this petition.

                                                                 ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                 ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                 ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                               ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.       District                           When                       Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                   District                           When                       Case number
     separate list.                                                                               MM/DD/YYYY




     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
          20-11685-jlg               Doc 1     Filed 07/22/20 Entered 07/22/20 19:33:10                                  Main Document
                                                             Pg 3 of 20
Debtor           Lakeland Intermediate, LLC                                            Case number (if known)
          Name



10. Are any bankruptcy cases               ☐ No
    pending or being filed by a            ☒ Yes.                                                                      Relationship    Affiliate
                                                        Debtor        See attached Schedule 1
    business partner or an
    affiliate of the debtor?                            District     Southern District of New York
   List all cases. If more than 1,                                                                                     When            07/20/2020
   attach a separate list.                           Case number, if known _______________________                                     MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.
                                        ☒     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                    ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                          safety.
                                                          What is the hazard?

                                                    ☐     It needs to be physically secured or protected from the weather.

                                                    ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                    ☐     Other


                                                    Where is the property?
                                                                                         Number          Street



                                                                                         City                                  State       Zip Code



                                                    Is the property insured?
                                                    ☐ No

                                                    ☐ Yes.         Insurance agency

                                                                   Contact name
                                                                   Phone




                       Statistical and administrative information

13. Debtor's estimation of             Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                ☐      1-49                          ☐     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                    ☐      50-99                         ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)                ☐      100-199                       ☐     10,001-25,000                    ☒     More than 100,000
                                       ☐      200-999




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
          20-11685-jlg          Doc 1          Filed 07/22/20 Entered 07/22/20 19:33:10                                   Main Document
                                                             Pg 4 of 20
Debtor           Lakeland Intermediate, LLC                                          Case number (if known)
          Name



15. Estimated assets (on a           ☐        $0-$50,000                ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)              ☐        $50,001-$100,000          ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐        $100,001-$500,000         ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐        $500,001-$1 million       ☐     $100,000,001-$500 million              ☐    More than $50 billion



16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            07/22/2020
                                                              MM/ DD / YYYY


                                              /s/ Kellie Goldstein                                               Kellie Goldstein
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Financial Officer




18. Signature of attorney                     /s/ Nicole L. Greenblatt                                       Date        07/22/2020
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Nicole L. Greenblatt
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              601 Lexington Avenue
                                              Number               Street
                                              New York                                                               New York          10022
                                              City                                                                   State               ZIP Code
                                              (212) 446-4800                                                         nicole.greenblatt@kirkland.com
                                              Contact phone                                                               Email address
                                              4162475                                             New York
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
      20-11685-jlg          Doc 1        Filed 07/22/20 Entered 07/22/20 19:33:10                   Main Document
                                                       Pg 5 of 20



     Fill in this information to identify the case:
                                                                            ,
     United States Bankruptcy Court for the:
                          Southern District of New York
                                         (State)                                                      ☐ Check if this is an
     Case number (if                                                                                      amended filing
     known):                                          Chapter   11



                                                  Rider 1
                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
    the United States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title
    11 of the United States Code. The Debtors have moved for joint administration of these cases under the
    case number assigned to the chapter 11 case of Lakeland Tours, LLC.

•   Lakeland Tours, LLC                                              •   Lakeland Intermediate, LLC
•   Brightspark Travel, Inc.                                         •   Lakeland Seller Finance, LLC
•   Explorica Merida Holdings, LLC                                   •   Leadership Platform Acquisition Corporation
•   Explorica Travel, Inc.                                           •   National Educational Travel Council, LLC
•   Explorica, Inc.                                                  •   Oxbridge Academic Resources, LLC
•   GlobaLinks - Canada, LLC                                         •   Travel Turf, Inc.
•   GlobaLinks, LLC                                                  •   WH Blocker, Inc.
•   Heritage Education & Festivals, LLC                              •   WorldStrides Holdings, LLC
•   International Studies Abroad, LLC                                •   WorldStrides International, LLC
•   ISA World Holding, LLC                                           •   WS Holdings Acquisition, Inc.
•   Lakeland Finance, LLC                                            •   WS Holdings, Inc.
•   Lakeland Holdings, LLC                                           •   WS Purchaser, Inc.
              20-11685-jlg             Doc 1         Filed 07/22/20 Entered 07/22/20 19:33:10                                   Main Document
                                                                   Pg 6 of 20


Fill in this information to identify the case:

Debtor name        Lakeland Tours, LLC, et al.

United States Bankruptcy Court for the:     Southern District of New York                                                                   Check if this is an
Case number (If known):                                                             (State)                                                  amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
Unsecured Claims and Are Not Insiders                                                                                                                          12/15

       A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
       the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also,
       do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
       creditor among the holders of the 50 largest unsecured claims.

                                                                                                                          Amount of claim
                                                                                                               If the claim is fully unsecured, fill in only
                                                                            Nature of                             unsecured claim amount. If claim is
                                                                             claim                            partially secured, fill in total claim amount
                                                                                 (for                           and deduction for value of collateral or
                                                                              example,                            setoff to calculate unsecured claim.
                                                                            trade debts,
                                                                            bank loans,
                                                                            professional        Indicate if                 Deduction
              Name of creditor and                Name, telephone             services,          claim is      Total         for value
                complete mailing                 number and email               and            contingent,    claim, if          of          Unsecured
              address, including zip             address of creditor        government        unliquidated,   partially     collateral         Claim
                      code                            contact                contracts)        or disputed    secured       or setoff 1      Amount ($)
                  Globetrotter Co-
                  Investment B LP
                  c/o Metalmark Capital
                  Holdings LLC
                  1177 Avene of the
                  Americas, 40th Floor
                  Attn: Jeffrey M.
                  Siegal & Donald
                  Gerne
                  New York, NY 10036

                  Globetrotter Co-
                  Investment B LP
                  c/o Silverhawk      212-701-5184
              1   Capital Partners    jeffrey.siegal@metalmar               Seller Note                                                    99,411,064.13
                  Attn: James Cook &  kcapital.com
                  David Scanlan
                  140 Greenwich
                  Avenue
                  Greenwich, CT 06830

                  Globetrotter Co-
                  Investment B LP
                  c/o Davis Polk &
                  Wardwell LLP
                  Attn: Michael Davis
                  450 Lexington
                  Avenue
                  New York, NY 10017



          1
              The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed
                herein.



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20-11685-jlg            Doc 1      Filed 07/22/20 Entered 07/22/20 19:33:10                            Main Document
                                                 Pg 7 of 20


                                                                                                 Amount of claim
                                                                                      If the claim is fully unsecured, fill in only
                                                      Nature of                          unsecured claim amount. If claim is
                                                       claim                         partially secured, fill in total claim amount
                                                           (for                        and deduction for value of collateral or
                                                        example,                         setoff to calculate unsecured claim.
                                                      trade debts,
                                                      bank loans,
                                                      professional     Indicate if                 Deduction
Name of creditor and          Name, telephone           services,       claim is      Total         for value
  complete mailing           number and email             and         contingent,    claim, if          of          Unsecured
address, including zip       address of creditor      government     unliquidated,   partially     collateral         Claim
        code                      contact              contracts)     or disputed    secured       or setoff 1      Amount ($)

     James Hall
2                            jimhall4989@gmail.com    Seller Note                                                  2,861,043.79
     Address on file.




     Anish Rajparia
3                            arajparia@yahoo.com      Seller Note                                                  1,711,269.88
     Address on file.




     Theresa Morgoglione     TERRIM@worldstrides.o
4                                                     Seller Note                                                  1,618,435.09
     Address on file.        rg




     The James Marshall
5    Irrev Living Trust      jimhall4989@gmail.com    Seller Note                                                  1,414,021.64
     Address on file.



     International Studies
     Abroad, Inc.
                             gustavo@gen1research.
6    1605 Resaca                                      Seller Note                                                  1,338,387.41
                             com
     Boulevard
     Austin, TX 78738



     Adam Hall
7                            oofgallen@yahoo.com      Seller Note                                                  1,249,551.25
     Address on file.

     Appletree Holdings
     LLC
     1225 Apple Tree         EARLG@worldstrides.or
8                                                     Seller Note                                                  1,211,302.59
     Lane                    g
     Charlottesville, VA
     22901

     Frederick O'Connor      fredoconnorjr@gmail.co
9                                                     Seller Note                                                  1,156,894.96
     Address on file.        m




     James Creighton         jim.creighton@gmail.co
10                                                    Seller Note                                                   622,753.69
     Address on file.        m




                                                             2
20-11685-jlg            Doc 1     Filed 07/22/20 Entered 07/22/20 19:33:10                             Main Document
                                                Pg 8 of 20


                                                                                                 Amount of claim
                                                                                      If the claim is fully unsecured, fill in only
                                                      Nature of                          unsecured claim amount. If claim is
                                                       claim                         partially secured, fill in total claim amount
                                                           (for                        and deduction for value of collateral or
                                                        example,                         setoff to calculate unsecured claim.
                                                      trade debts,
                                                      bank loans,
                                                      professional     Indicate if                 Deduction
Name of creditor and         Name, telephone            services,       claim is      Total         for value
  complete mailing          number and email              and         contingent,    claim, if          of          Unsecured
address, including zip      address of creditor       government     unliquidated,   partially     collateral         Claim
        code                     contact               contracts)     or disputed    secured       or setoff 1      Amount ($)
     Earl Martin Grossman
     Irrev Family Tr
                          EARLG@worldstrides.or
11   c/o Suzanne                                      Seller Note                                                   581,186.00
                          g
     Grossman, Trustee
     Address on file.


     James Gerber           jamesc.gerber@gmail.c
12                                                    Seller Note                                                   565,041.93
     Address on file.       om




     Richard Lin
13                          richardylin@yahoo.com     Seller Note                                                   546,314.84
     Address on file.



     Francois Martin        FRANCOISM@worldstri
14                                                    Seller Note                                                   516,609.77
     Address on file.       des.org



     Jacob Mitchell         jake.mitchell93@gmail.c
15                                                    Seller Note                                                   506,923.33
     Address on file.       om

     Cognizant
     Technology Solutions
     US Corp.
     Glenpointe Centre      Brian.Humphries@cogni
16                                                    Vendor AP                                                     480,739.00
     West                   zant.com
     500 Frank West Burr
     Blvd
     Teaneck, NJ 07666

     Michael Smith          michaels@worldstrides.
17                                                    Seller Note                                                   445,575.92
     Address on file.       org




     Matthew Wertz
18                          mwertz@explorica.com      Seller Note                                                   435,889.49
     Address on file.




     James Cigliano
19                          jimci@worldstrides.org    Seller Note                                                   411,673.41
     Address on file.




                                                             3
20-11685-jlg             Doc 1       Filed 07/22/20 Entered 07/22/20 19:33:10                            Main Document
                                                   Pg 9 of 20


                                                                                                   Amount of claim
                                                                                        If the claim is fully unsecured, fill in only
                                                        Nature of                          unsecured claim amount. If claim is
                                                         claim                         partially secured, fill in total claim amount
                                                             (for                        and deduction for value of collateral or
                                                          example,                         setoff to calculate unsecured claim.
                                                        trade debts,
                                                        bank loans,
                                                        professional     Indicate if                 Deduction
Name of creditor and            Name, telephone           services,       claim is      Total         for value
  complete mailing             number and email             and         contingent,    claim, if          of          Unsecured
address, including zip         address of creditor      government     unliquidated,   partially     collateral         Claim
        code                        contact              contracts)     or disputed    secured       or setoff 1      Amount ($)

     Dennis Liberson           dennis@bollingbranch.c
20                                                      Seller Note                                                   366,311.85
     Address on file.          om

     Asia Education
     Consulting, Ltd
     2/F, Palm Grove
21   House, Wickhams           xavi@leadform.org        Seller Note                                                   361,026.26
     Cay, Road Town
     Tortola, British Virgin
     Islands

     OAP Holdings, Inc.
     370 Riverside Dr Apt      jbasker@jamesgbasker.
22                                                      Seller Note                                                   339,025.16
     15E                       com
     New York, NY 10025



     Hunter Johnson
23                             hunterj@acac.com         Seller Note                                                   322,881.09
     Address on file.



     Dominik Wanner            dominikwanner@worldst
24                                                      Seller Note                                                   306,372.51
     Address on file.          rides.org


     RST Marketing
25   Association Inc           glen@rstmkt.com          Vendor AP                                                     293,057.19
     Address on file.



     Jamie Cairns              jamieccairns@gmail.co
26                                                      Seller Note                                                   290,593.00
     Address on file.          m




     Ripley Hunter
27                             riph@gettravel.com       Seller Note                                                   258,304.88
     Address on file.



     Spirit II Family LLC
                               gustavo@gen1research.
28   1605 Resaca Blvd                                   Seller Note                                                   258,304.88
                               com
     Austin, TX 78738


     Dan Kellerd
                               dank@worldstrides.com.
29   2/15 Duffy Street                                  Seller Note                                                   232,474.40
                               au
     Address on file.




                                                               4
20-11685-jlg            Doc 1      Filed 07/22/20 Entered 07/22/20 19:33:10                            Main Document
                                                Pg 10 of 20


                                                                                                 Amount of claim
                                                                                      If the claim is fully unsecured, fill in only
                                                      Nature of                          unsecured claim amount. If claim is
                                                       claim                         partially secured, fill in total claim amount
                                                           (for                        and deduction for value of collateral or
                                                        example,                         setoff to calculate unsecured claim.
                                                      trade debts,
                                                      bank loans,
                                                      professional     Indicate if                 Deduction
Name of creditor and          Name, telephone           services,       claim is      Total         for value
  complete mailing           number and email             and         contingent,    claim, if          of          Unsecured
address, including zip       address of creditor      government     unliquidated,   partially     collateral         Claim
        code                      contact              contracts)     or disputed    secured       or setoff 1      Amount ($)

     Aaron Joseph
30   Borenstein Trust        William874@msn.com       Seller Note                                                   229,784.80
     Address on file.


     Ethan William
31   Borenstein Trust        William874@msn.com       Seller Note                                                   229,784.80
     Address on file.


     Jacob Robert
32   Borenstein Trust        William874@msn.com       Seller Note                                                   229,781.57
     Address on file.


     Olle Olsson             OLLEAOLSSON@GMAI
33                                                    Seller Note                                                   226,003.85
     Address on file.        L.COM

     Education Abroad
     Network, LLC (TEAN)
     The Education
     Abroad Network      chris.shepard@teanabro
34                                                     Earn Out                                                     202,651.00
     505 N La Salle Dr., ad.org
     Suite 200
     Chicago, IL 60654-
     7103

     Leandra Jenkins         Leandraj@worldstrides.
35                                                    Seller Note                                                   201,422.91
     Address on file.        org



     Rafael Hoyle
36                           rafaelhoyle@icloud.com   Seller Note                                                   198,772.06
     Address on file.


     Rajparia Irrev Tr fbo
     Kaya Rajparia
37                           arajparia@yahoo.com      Seller Note                                                   193,728.65
     c/o Priya Rajparia
     Address on file.

     Rajparia Irrev Tr fbo
     saira Rajparia
38                           arajparia@yahoo.com      Seller Note                                                   193,728.65
     c/o Priya Rajparia
     Address on file.
     Rajparia Irrev Tr fbo
     Amit Rajparia
39   c/o Priya Rajparia      arajparia@yahoo.com      Seller Note                                                   193,728.65
      Address on file.




                                                             5
20-11685-jlg            Doc 1       Filed 07/22/20 Entered 07/22/20 19:33:10                             Main Document
                                                 Pg 11 of 20


                                                                                                   Amount of claim
                                                                                        If the claim is fully unsecured, fill in only
                                                        Nature of                          unsecured claim amount. If claim is
                                                         claim                         partially secured, fill in total claim amount
                                                             (for                        and deduction for value of collateral or
                                                          example,                         setoff to calculate unsecured claim.
                                                        trade debts,
                                                        bank loans,
                                                        professional     Indicate if                 Deduction
Name of creditor and           Name, telephone            services,       claim is      Total         for value
  complete mailing            number and email              and         contingent,    claim, if          of          Unsecured
address, including zip        address of creditor       government     unliquidated,   partially     collateral         Claim
        code                       contact               contracts)     or disputed    secured       or setoff 1      Amount ($)
     Sitecore USA LLC
     US Headquarters
     101 California Street,   heather.mcdarby@sitec
40                                                      Vendor AP                                                     193,545.00
     Floor 16                 ore.com
     San Francisco, CA
     94111

     Timothy Sweeney
41                            tims@worldstrides.org     Seller Note                                                   191,788.14
     Address on file.



     Keith Johnson
42                            KeithJ@worldstrides.org   Seller Note                                                   178,230.36
     Address on file.



     Dennis Hall              dennish@worldstrides.o
43                                                      Seller Note                                                   176,938.84
     Address on file.         rg



     David Conklin
44                            dconklin@explorica.com    Seller Note                                                   176,612.73
     Address on file.

     Trip Mate, Inc. Arch
     Whls Premium
45   PO Box 954945            djones@tripmate.com       Vendor AP                                                     167,397.00
     St. Louis. MO 63195-
     4945
     SHI International
     Corporation
46   290 Davidson             al_fitzgerald@shi.com     Vendor AP                                                     162,125.97
     Avenue
     Somerset, NJ 08873

     David Leneker            DavidL@worldstrides.or
47                                                      Seller Note                                                   153,852.83
     Address on file.         g



     Susan Johnson            shjohnson1222@gmail.c
48                                                      Seller Note                                                   153,368.52
     Address on file.         om

     InnerWorkings Inc
     Attn: Oren Azar
49   203 N LaSalle Street,    oazar@inwk.com            Vendor AP                                                     135,900.47
     Suite 1800
     Chicago, IL 60601

     Elizabeth Follansbee     efollansbee@hotmail.co
50                                                      Seller Note                                                   135,422.79
     Address on file.         m




                                                               6
     20-11685-jlg       Doc 1     Filed 07/22/20 Entered 07/22/20 19:33:10                 Main Document
                                               Pg 12 of 20


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          )
     In re:                                               )     Chapter 11
                                                          )
     LAKELAND INTERMEDIATE, LLC,                          )     Case No. 20-___________(___)
                                                          )
                              Debtor.                     )
                                                          )

                                    LIST OF EQUITY SECURITY HOLDERS1

               Debtor                   Equity Holders           Address of Equity Holder         Percentage
                                                                                                   of Equity
                                                                                                     Held
                                                                  218 Water Street West
     Lakeland Intermediate, LLC     Lakeland Finance, LLC                Suite 400                   100%
                                                               Charlottesville, Virginia 22902




 1
        This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
        Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
        chapter 11 case.
 20-11685-jlg       Doc 1     Filed 07/22/20 Entered 07/22/20 19:33:10                Main Document
                                           Pg 13 of 20


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 LAKELAND INTERMEDIATE, LLC,                          )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

                Lakeland Finance, LLC                                            100%
       20-11685-jlg             Doc 1         Filed 07/22/20 Entered 07/22/20 19:33:10                                Main Document
                                                           Pg 14 of 20


    Fill in this information to identify the case and this filing:

   Debtor Name          Lakeland Intermediate, LLC

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                       07/22/2020                                   /s/ Kellie Goldstein
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kellie Goldstein
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
20-11685-jlg   Doc 1   Filed 07/22/20 Entered 07/22/20 19:33:10   Main Document
                                    Pg 15 of 20
20-11685-jlg   Doc 1   Filed 07/22/20 Entered 07/22/20 19:33:10   Main Document
                                    Pg 16 of 20
20-11685-jlg   Doc 1   Filed 07/22/20 Entered 07/22/20 19:33:10   Main Document
                                    Pg 17 of 20
20-11685-jlg   Doc 1   Filed 07/22/20 Entered 07/22/20 19:33:10   Main Document
                                    Pg 18 of 20
20-11685-jlg   Doc 1   Filed 07/22/20 Entered 07/22/20 19:33:10   Main Document
                                    Pg 19 of 20
20-11685-jlg   Doc 1   Filed 07/22/20 Entered 07/22/20 19:33:10   Main Document
                                    Pg 20 of 20
